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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Kenneth J. Catanzarite (SBN 113750)
 CATANZARITE LAW CORPORATION
 2331 West Lincoln Avenue
 Anaheim, California 92801
 Telephone: (714) 520-5544
 Facsimile: (714) 520-0680
 kcatanzarite@catanzarite.com




 D Individual appearing without attorney
 1ZI Attorney for: Ronnie D. Jordan
                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:                                                                      CASE NO.: 24-12674-TA -11
 THE ORIGINAL MOWBRAY'S TREE SERVICE, INC.                                   CHAPTER: 11

                                                                                   NOTICE OF MOTION AND MOTION FOR
                                                                                   RELIEF FROM THE AUTOMATIC STAY
                                                                                           UNDER 11 U.S.C. § 362
                                                                                       (with supporting declarations)
                                                                                  (ACTION IN NONBANKRUPTCY FORUM)

                                                                             DATE: 11/19/2024
                                                                             TIME: 10:00 am
                                                                             COURTROOM: 5B
                                                              Debtor(s).

 Movant: Ronnie D. Jordan



1. Hearing Location:
     D 255 East Temple Street, Los Angeles, CA 90012                                 1ZI 411 West Fourth Street, Santa Ana, CA 92701
     D 21041 Burbank Boulevard, Woodland Hills, CA 91367                             D 1415 State Street, Santa Barbara, CA 93101
     D 3420 Twelfth Street, Riverside, CA 92501
2.   Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
     parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
     granting relief from the automatic stay as to Debtor and Debtor's bankruptcy estate on the grounds set forth in the
     attached Motion.

3.   To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
     preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
     the format required by LBR 9004-1 and the Court Manual.



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4.   When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
     was filed by an unrepresented individual) at the address set forth above.

5.   If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
     such failure as consent to granting of the motion.

6.   ~ This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1 (d). If you wish to oppose this motion ,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing .

7.   D This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1 (b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)                                     and (time)                    ; and , you
          may appear at the hearing .

     a.   D An application for order setting hearing on shortened notice was not required (according to the calendaring
                procedures of the assigned judge) .

     b.   D An application for order setting hearing on shortened notice was filed and was granted by the court and such
                motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.   D An application for order setting hearing on shortened notice was filed and remains pending. After the court
                rules on that application , you will be served with another notice or an order that specifies the date, time and
                place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
                motion.


     Date:      10/25/2024                                                          CATANZARITE LAW CORPORATION
                                                                                    Printed name of law firm (if applicable)

                                                                                    Kenneth J. Catanzarite
                                                                                    Printed name of individual Mov f-lt-or attorney for Movant




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    MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO NONBANKRUPTCY ACTION


1. In the Nonbankruptcy Action, Movant is:
    a.         Plaintiff
    b.         Defendant
    c.         Other (specify):

2. The Nonbankruptcy Action: There is a pending lawsuit or administrative proceeding (Nonbankruptcy Action)
   involving the Debtor or the Debtor’s bankruptcy estate:

    a. Name of Nonbankruptcy Action: Ronnie D. Jordan v. The Original Mowbrays' Tree Service, Inc., et
    b. Docket number: CIVSB2201281
    c. Nonbankruptcy forum where Nonbankruptcy Action is pending:
       San Bernardino County Superior Court
    d. Causes of action or claims for relief (Claims):
       Breach of Contract, Promisory Fraud, Breach of Covenant of Good Faith, Inducement to Relocate by
       Misrepresentation, Declaratory Relief, Promissory Estoppel, Specific Performance, and Quiet Title.
3. Bankruptcy Case History:

    a.         A voluntary      An involuntary petition under chapter                       7        11     12        13
               was filed on (date) 10/18/2024 .

    b.         An order to convert this case to chapter                 7      11     12        13
               was entered on (date)                .

    c.         A plan was confirmed on (date)                            .

4. Grounds for Relief from Stay: Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay to
   proceed with the Nonbankruptcy Action to final judgment in the nonbankruptcy forum for the following reasons:

    a.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate.

    b.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that Movant will retain
               the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under 11 U.S.C. § 523
               or § 727 in this bankruptcy case.

    c.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    d.         The Claims are nondischargeable in nature and can be most expeditiously resolved in the nonbankruptcy
               forum.

    e.         The Claims arise under nonbankruptcy law and can be most expeditiously resolved in the nonbankruptcy
               forum.




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     f.     ~ The bankruptcy case was filed in bad faith.

                (1) 0      Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor's case
                           commencement documents.
                (2)   I:8J The timing of the filing of the bankruptcy petition indicates that it was intended to delay or interfere
                           with the Nonbankruptcy Action.
                (3)   0    Multiple bankruptcy cases affect the Nonbankruptcy Action.

                (4)   0    The Debtor filed only a few case commencement documents. No schedules or statement of financial
                           affairs (or chapter 13 plan, if appropriate) has been filed.

     g.     0   Other (specify):



5.   Grounds for Annulment of Stay. Movant took postpetition actions against the Debtor.

     a.     0   The actions were taken before Movant knew that the bankruptcy case had been filed, and Movant would have
                been entitled to relief from stay to proceed with these actions.

     b.     0   Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
                in the Nonbankruptcy Action in prior bankruptcy cases affecting the Nonbankruptcy Action as set forth in
                Exhibit. _ _

     c.     0   Other (specify):



6.   Evidence in Support of Motion: (Important Note: declaration(s) in support of the Motion MUST be signed
     under penalty of perjury and attached to this motion.)

     a.     ~ The DECLARATION RE ACTION IN NONBANKRUPTCY FORUM on page 6.

     b.     0   Supplemental declaration(s).

     c.     0   The statements made by Debtor under penalty of perjury concerning Movant's claims as set forth in Debtor's
                case commencement documents. Authenticated copies of the relevant portions of the Debtor's case
                commencement documents are attached as Exhibit. _ _

     d.     0   Other evidence (specify):



7.   0      An optional Memorandum of Points and Authorities is attached to this Motion.

Movant requests the following relief:

1.   Relief from the stay pursuant to 11 U.S.C. § 362(d)(1).

2.   ~ Movant may proceed under applicable nonbankruptcy law to enforce its remedies to proceed to final judgment in
            the nonbankruptcy forum, provided that the stay remains in effect with respect to enforcement of any judgment
            against the Debtor or property of the Debtor'S bankruptcy estate.

3.   0      The stay is annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant in the
            Nonbankruptcy Action shall not constitute a violation of the stay.




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4.   D The co-debtor stay of 11 U.S.C. § 1201 (a) or § 1301 (a) is terminated, modified, or annulled as to the co-debtor,
         on the same terms and condition as to the Debtor.

5.   D The 14-day stay prescribed by FRBP 4001 (a)(3) is waived.
6.   D The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
         days, so that no further automatic stay shall arise in that case as to the Nonbankruptcy Action.

7.   D The order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without further
         notice

8.   D Other relief requested.


Date:   10/25/2024                                                      CATANZARITE LAW CORPORATION
                                                                        Printed name of law firm (if applicable)




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                               DECLARATION RE ACTION IN NONBANKRUPTCY FORUM
I, (name of Declarant) Kenneth J. Catanzaite                                                                               , declare as follows:

1.   I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
     competently testify thereto. I am over 18 years of age. I have knowledge regarding (Nonbankruptcy Action) because:

     o I am the Movant.
     J:8j I am Movant's attorney of record in the Nonbankruptcy Action.
     o I am employed by Movant as (title and capacity):
     o Other (specify):
2.   I am one of the custodians of the books, records and files of Movant as to those books, records and files that pertain
     to the Nonbankruptcy Action. I have personally worked on books, records and files, and as to the following facts,
     I know them to be true of my own knowledge or I have gained knowledge of them from the business records of
     Movant on behalf of Movant, which were made at or about the time of the events recorded, and which are maintained
     in the ordinary course of Movant's business at or near the time of the acts, conditions or events to which they relate.
     Any such document was prepared in the ordinary course of business of Movant by a person who had personal
     knowledge of the event being recorded and had or has a business duty to record accurately such event. The
     business records are available for inspection and copies can be submitted to the court if required.

3.   In the Nonbankruptcy Action, Movant is:

     J:8j Pia intiff
     o Defendant
     o Other (specify):
4.   The Nonbankruptcy Action is pending as:

     a.     Name of Nonbankruptcy Action: See Attachment 4.a. attached
     b.     Docket number: Case No. CVISB2201281
     c.     Nonbankruptcy court or agency where Nonbankruptcy Action is pending:
            IN THE SUPERIOR COURT OF CALIFORNIA FOR THE COUNTY OF SAN BERNARDINO

5.   Procedural Status of Nonbankruptcy Action:

     a.     The Claims are:
            COMPLAINT FOR: 1. Breach of Oral Employment Contract; 2. Promissory Fraud; 3.Breach of the
            Covenant of Good Faith and Fair Dealing; 4. Inducement to Relocate by Means of Misrepresentations
            (Labor Code §970); 5. Declaratory Relief- Restrictive Provisions and Non-Compete are Not Enforceable
            6. Promissory Estoppel; 7. Specific Performance of Contract; 8. Quiet Title to Real Property (CCP, §§760
             & 761.020)
     b.     True and correct copies of the documents filed in the Nonbankruptcy Action are attached as Exhibit _A__ .

     c.     The Nonbankruptcy Action was filed on (date) 01/18/2022 .

     d.     Trial or hearing beganlis scheduled to begin on (date) 10/21/2024

     e.     The trial or hearing is estimated to require 7-10 days (specify).

     f.     Other plaintiffs in the Nonbankruptcy Action are (specify):
            None




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     g.   Other defendants in the Nonbankruptcy Action are (specify):
            MOWBRAY WATERMAN PROPERTY, LLC, RICHARD JOHN MOWBRAY and ROBIN MOWBRAY


6.   Grounds for relief from stay:

     a.   ~ Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or the Debtor's bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 andlor an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

     b.   D Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or the Debtor's bankruptcy estate,
               except that Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 andlor an adversary
               complaint under 11 U.S.C. § 523 or § 727 in this bankruptcy case.
     c.   D Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor's bankruptcy estate. The insurance carrier and policy number
               are (specify):




     d.   [gJ The Nonbankruptcy Action can be tried more expeditiously in the nonbankruptcy forum.
               (1) t8J     It is currently set for trial on (date) 12/05/2024 .
               (2) D       It is in advanced stages of discovery and Movant believes that it will be set for trial by
                           (date)               . The basis for this belief is (specify):




               (3) t8J     The Nonbankruptcy Action involves non-debtor parties and a single trial in the non bankruptcy forum
                           is the most efficient use of judicial resources.

     e.   D The bankruptcy case was filed in bad faith specifically to delay or interfere with the prosecution of the
               Nonbankruptcy Action.

               (1) D       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor's case
                           commencement documents.

               (2) D       The timing of the filing of the bankruptcy petition indicates it was intended to delay or interfere with
                           the Nonbankruptcy Action based upon the following facts (specify):




               (3) D       Multiple bankruptcy cases affecting the Property include:

                     (A) Case name:
                         Case number:                               Chapter:
                         Date filed:                  Date discharged:                                  Date dismissed:
                         Relief from stay regarding this Nonbankruptcy Action                  D was D was not granted.




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                     (8) Case name:
                         Case number:                               Chapter:
                         Date filed:                 Date discharged:                               Date dismissed:
                         Relief from stay regarding this Nonbankruptcy Action                   D was D was not granted.
                     (C) Case name:
                         Case number:                               Chapter:
                         Date filed :                Date discharged :                                 Date dismissed :
                         Relief from stay regarding this Nonbankruptcy Action                  D was D was not granted.
                     D See attached continuation page for information about other bankruptcy cases affecting the
                          Nonbankruptcy Action.
                     D See attached continuation page for additional facts establ ishing that this case was filed in bad faith .
     f.   D See attached continuation page for other facts justifying relief from stay.

7.   D Actions taken in the Nonbankruptcy Action after the bankruptcy petition was filed are specified in the attached
          supplemental declaration(s) .

     a.   0    These actions were taken before Movant knew the bankruptcy petition had been filed, and Movant would
               have been entitled to relief from stay to proceed with these actions .
     b.   0    Movant knew the bankruptcy case had been filed , but Movant previously obtained relief from stay to proceed
               with the Nonbankruptcy Action enforcement actions in prior bankruptcy cases affecting the Property as set
               forth in Exhibit
     c.   0     For other facts justifying annulment, see attached continuation page.


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  10/25/2024            Kenneth J. Catanzarite
 Date                          Printed name




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   ATTACHMENT TO DECLARATION RE ACTION IN NONBANKRUPTCY FORUM

                        Declaration of Kenneth J. Catanzarite

4.a. Name of Nonbankmptcy Action: RONNIE D. JORDAN, an individual; Plaintiff, v. THE
ORIGINAL MOWBRAY'S TREE SERVICE, INCORPORATED, a California corporation;
MOWBRAY WATERMAN PROPERTY, LLC, a California limited liability company;
RICHARD JOHN MOWBRAY, an individual; ROBIN MOWBRAY, an individual; and Does 1
through 50 inclusive, Defendants.
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2331 West Lincoln Avenue, Anaheim, CA 92801

A true and correct copy of the foregoing documents entitled NOTICE OF MOTION AND MOTION FOR
RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations)
(ACTION IN NONBANKRUPTCY FORUM) will be served or was served (a) on the judge via notice of electronic
filing (NEF); (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) : Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
10/25/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

   Attorney for of Debtor The Original Mowbray's Tree Service, Inc.:
   Robert S Marticello rmarticello@raineslaw.com, bclark@raineslaw.com; jfisher@raineslaw.com

    Attorney for Debtor The Original Mowbray's Tree Service, Inc.:
    Michael Simon         msimon@raineslaw.com, bclark@raineslaw.com; jfisher@raineslaw.com

    U.S. Trustee United States Trustee (SA):
    Nancy S Goldenberg nancy.goldenberg@usdoj.gov

                                                                                       ~ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 10/25/2024 I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.




                                                                                       o Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/25/2024 I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on , or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                       o Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and corre t.

 October 25, 2024                                 Han B. Le
Date                                                     Name




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1 (Cont). TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        United States Trustee (SA):
        ustpregion16.sa.ecf@usdoj.gov

        Attorney for Creditor AmTrust North America, Inc. on behalf of Southern Insurance Company:
        Alan Craig Hochheise ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com

        Attorney for Creditor Ally Bank clo AIS Portfolio Services, LLC:
        Amitkumar Sharma amit.sharma@aisinfo.com

        Attorney for Creditor Ford Motor Credit Company, LLC, clo AIS Portfolio Services, LLC:
        Amitkumar Sharma amit.sharma@aisinfo.com


        Attorney for Interested Party Courtesy NEF:
        Roye Zur     rzur@elkinskalt.com, TParizad@elkinskalt.com; Iwageman@elkinskalt.com;
        1648609420@filings.docketbird.com




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